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     BRIAN J. SMITH, ESQ.
 1   Nevada Bar Number 11279
 2   Law Office of Brian J. Smith, Ltd.
     520 S. 4th St., Suite 340
 3   Las Vegas, Nevada 89101
     702-380-8248
 4   Attorney for SCAVONE
 5
                                    UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
 7   UNITED STATES OF AMERICA,                      )
                                                    )       Case No.: 2:16-cr-00005-RFB
 8   Plaintiff,                                     )
 9                                                  )       STIPULATION TO CONTINUE
     vs.                                            )       REVOCATION HEARING
10                                                  )
     RICHARD SCAVONE,                               )
11                                                  )       (THIRD REQUEST)
12                   Defendant.                     )
                                                    )
13
              IT IS HEREBY STIPULATED AND AGREED, by and between BRIAN J. SMITH, counsel
14
     for RICHARD SCAVONE, Nicholas A. Trutanich, United States Attorney, and NICHOLAS D.
15
16   DICKINSON, Assistant United States Attorney, that the revocation hearing currently scheduled for

17   November 10, 2020, at the hour of 10:00 a.m., be vacated and set to a date and time convenient to
18   this court, but in no event earlier than sixty (60) days.
19
              This Stipulation is entered into for the following:
20
21            1. In response to the outbreak of the coronavirus disease 2019 (“COVID-19”) in the District

22                of Nevada, the Court has issued a series of general orders changing how the Court
23                operates to do its part in containing the spread of COVID-19. See General Orders 2020-
24
                  02, 2020-03, 2020-04, 2020-05, 2020-08, 2020-09, 2020-10 (the “COVID-19 General
25
                  Orders”).1 In Amended General Order 2020-03, the Court continued all jury trials
26
                  indefinitely. Since then, the Court has begun incrementally resuming limited in-person
27
28                hearings, though the Court recognizes that emergency conditions that led the Court to

                  authorize the use of video and telephone conferencing under the “Coronavirus Aid,
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               Relief, and Economic Security Act” (“CARES Act”) continue to exist. The Court now
 1
               amends Temporary General Order 2020-03 to allow jury trials to proceed in accordance
 2
 3             with the Court’s internal plan for resuming jury trials.

 4         2. The pending petition involves a New York State criminal charge. Defendant Scavone’s
 5             scheduled court date in that matter is November 19, 2020. According to the Assistant
 6
               District Attorney assigned to the matter, Scavone’s court date will likely be moved
 7
               because of the COVID pandemic.
 8
           3. The parties anticipate Defendant Scavone’s state case will affect the resolution of the
 9
10             pending petition.

11         4. Defendant Scavone, who is not in custody, agrees to the continuance.
12
           5. Brian J. Smith, counsel for Scavone is in agreement with this continuance.
13
           6. Counsel for the government is in agreement with this continuance.
14
           7. The additional time requested by this stipulation is made in good faith and not for
15
16             purpose of delay.

17         8. Additionally, denial of this request or continuance would result in a miscarriage of

18             justice.
19
           This is the third stipulation to continue filed herein.
20
           DATED this 9th day of November, 2020.
21
22   RESPECTFULLY SUBMITTED BY:
23
     NICHOLAS A. TRUTANICH
24   United States Attorney
25
26          /s/ Nicholas D. Dickinson                                       /s/ Brian J. Smith
     NICHOLAS D. DICKINSON, ESQ.                                     BRIAN J. SMITH, ESQ.
27   Assistant United States Attorney                                Attorney for SCAVONE
28

                                                       2
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 1   Nevada Bar Number 11279
     Law Office of Brian J. Smith, Ltd.
 2
     520 S. 4th St., Suite 340
 3   Las Vegas, Nevada 89101
     702-380-8248
 4   Attorney for SCAVONE
 5                                  UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
 7   UNITED STATES OF AMERICA,                       )
                                                     )       Case No.: 2:16-cr-00005-RFB
 8   Plaintiff,                                      )
                                                     )       FINDINGS AND ORDER ON
 9
     vs.                                             )       STIPULATION
10                                                   )
     RICHARD SCAVONE,                                )
11                                                   )       (THIRD REQUEST)
                     Defendant.                      )
12
                                                     )
13
                      FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
14
              Based upon the submitted Stipulation of the parties, and good cause appearing therefore, the
15
     Court finds that:
16
              1. In response to the outbreak of the coronavirus disease 2019 (“COVID-19”) in the District
17
                  of Nevada, the Court has issued a series of general orders changing how the Court
18
                  operates to do its part in containing the spread of COVID-19. See General Orders 2020-
19
20                02, 2020-03, 2020-04, 2020-05, 2020-08, 2020-09, 2020-10 (the “COVID-19 General

21                Orders”).1 In Amended General Order 2020-03, the Court continued all jury trials
22                indefinitely. Since then, the Court has begun incrementally resuming limited in-person
23
                  hearings, though the Court recognizes that emergency conditions that led the Court to
24
                  authorize the use of video and telephone conferencing under the “Coronavirus Aid,
25
26                Relief, and Economic Security Act” (“CARES Act”) continue to exist. The Court now

27                amends Temporary General Order 2020-03 to allow jury trials to proceed in accordance

28                with the Court’s internal plan for resuming jury trials.

                                                         3
          Case 2:16-cr-00005-RFB Document 122 Filed 11/09/20 Page 4 of 4



             2. The pending petition involves a New York State criminal charge. Defendant Scavone’s
 1
                 scheduled court date in that matter is November 19, 2020. According to the Assistant
 2
 3               District Attorney assigned to the matter, Scavone’s court date will likely be moved

 4               because of the COVID pandemic.
 5           3. The parties anticipate Defendant Scavone’s state case will affect the resolution of the
 6
                 pending petition.
 7
             4. Defendant Scavone, who is not in custody, agrees to the continuance.
 8
 9           5. Brian J. Smith, counsel for Scavone is in agreement with this continuance.

10           6. Counsel for the government is in agreement with this continuance.

11                                        CONCLUSIONS OF LAW
12           1. Denial of this request for continuance would deny the defendant sufficient time to be able

13               to fairly resolve his case, taking into account the exercise of due diligence.
14
             2. The additional time requested by this stipulation is made in good faith and not for
15
                 purpose of delay.
16
             3. Additionally, denial of this request or continuance would result in a miscarriage of
17
18               justice.

19           This is the third stipulation to continue filed herein.
20                                                   ORDER
21           IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for
22   November 10, 2020, at the hour of 10:00 a.m., be vacated and continued to January 19, 2021

23   at     the hour of 11:00 a.m.
             DATED this 9th          of November, 2020.
24
25
26
                                                     RICHARD F. BOULWARE, II
27                                                   UNITED STATES DISTRICT JUDGE

28

                                                         4
